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IN THE UNITED STATES DISTRICT COURT
FOR THE SOUTHERN DISTRICT OF OHIO
EASTERN DIVISION
KIMBERLY GIBBS, Case No. 2:15-cv-2414-MHW-EPD
Plaintiff,
vs.

LLOYD & MCDANIEL, PLC,

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Defendant. )
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ORDER VACATING SETTLEMENT WEEK
The Court Finds that the Settlement Week conference currently set for September 14,
2016 at 10:30 a.m. is no longer necessary as the parties have settled the underlying case.
IT IS HEREBY ORDERED that the Setthkement Conference which is currently set
for September 14, 2016 is canceled.

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Date United States Magistrate-Judge

 
